
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-173-CV



IN RE ROGER KERBOW AND	RELATORS

KERBOW &amp; ASSOCIATES	

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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relators’ petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL A: &nbsp;CAYCE, C.J.; HOLMAN and MCCOY, JJ.



DELIVERED: &nbsp;May 31, 2007

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




